EXHIBIT A
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                                                                                                                    9. z. 'J
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          Andrew R. Alex #003646
          Trysta M. Puntenney #029504
     2    ALEX & SAAVEDRA, P.C. .
          1717 East Bell Road, Suite One
     3    Phoenix, Arizona 85022-6200
          Telephone: (602) 971-1775·
     4    Facsimile: (602) 867-7833
          Email: andrew@asinjurylaw.com
     5    Email: trysta@asjnjuryfaw.com
     6    Attorneys for Plaintiff Frank Celaya
     7
                        IN THE SUPERIOR COURT OF THE STATE OF ARJZONA
     8
                               IN AND FOR THE COUNTY OF MARJCOPA
 9.

 IO      FRANK CELAYA, an individual, .
                                                                Case No:
II
                               Plaintiff,
                                                                                 CV 201 7 -"0 5 4 6 6 9 ·
12            .   v.
                                                                                       SUMMONS
13
         GEORGE LEE LEY and JANE DOE LEY,
14       husband and wife; 'WESTERN EXPRESS,                          •   iii((~ legal cdvice from a lawyer,
         INC., a Tennessee corp~ration; ABC                          •.•~ 1-.C.·.Nye; hetarral S-=:• v .....,, Jt
15       CORPORATIONS I-X; BLACK AND WIDTE                                  602:·f57-4434
         PARTNERSIDPS AND/OR SOLE                                              or
16                                                                  www .maricopalawyers.org
         PROPRlETORSHIPS 1-X, JOHN and JANE .
                                                                          Sponsored by the
11       DOES I-X; and JACK AND JILL DOES I-X,                   Maricopa county Bar Association
18                            Defendants.
19
         TO: &STERN EXPRESS, INZ)                          .
20                NATIONAL REGISTERED AGENTS, INC., Statutory Agent
                  2390 E. CAMELBACK lU).
21                PHOENIX, AZ 85016
22

23
                  YOU ARE HJ;,REBY SU1\11'v10NED and required to appear and defend, within the

24
         time applicable, in this action in this Court. If served within Arizona, you shall appear and

25
         defend within 20 days after.the service of the Summons and Complaint upon you, exclusive

26
         of the day of service. If served out of the State of Arizona, whether by direct service, by

27
         registered or certified mail, or by publication, you s.hall appear and defend within 30 days
         after the service of the Summons and Complaint on you is complete, exclusive of the day
28


                                                          -1-
               of service. Where process is served upon the Arizona Director of Insurance as an insurer's
           2   attorney to receive service of legal process. against it in this State, the insurer shall not be

           3   required to appear, answer or plead until expiration of 40 days after the date of such service
           4   upon the Director. Service by publication is complete 30 days after the date of first

           5   publication. Direct service is complete when made. Service upon the Arizona Motor
        6      Vehic_le Superintendent is complete 30 days after filing the Affidavit of Compliance and

        7      return receipt of Officer's receipt. A.R.C.P. §20-222, §28-502 and §28-503.
        8             YOU ARE HEREBY NOTIFIED that in case of your failure to appear and defend

        9      within the time applicable, judgment by default may be rendered against y~m for the relief
       10      demanded in the Complaint.

       11             YOU ARE CAUTIONED that in order to appear. and defend you must file an
      12       Answer or proper response in writing with the Clerk of this Court, accompanied by the
      13       necessary filing fee, within the time.required. You are required to seive a copy of any
      14       Answer or response upon Plaintiffs attorney. Rule 5 and Rule lO(d), Arizona Rules of
      15       Civil Procedure, A.R.S. § 12-311.

      16              Requests for reasonable accommodation for persons with disabilities must be made
      17       to the division assigl)ed to the case by parties at least 3 judicial days in advance .of a
      I8       scheduled court proceeding.
      19

      20             SIGNED AND SEALED tl;lis date: _ _ _ _ _ _ _ __

      21

      22

      23 ,                                                CLERK OF THE COURT
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                                                                         ~I<.  · JEANES, CLE~K
                                                                           Y. BARRAZA
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      28                                                      ...__...       •:




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                  Andrew R. Alex #003646
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             2
                  Trysta M. Puntenney #029504
                  ALEX & SAAVEDRA, P.C.
                  1717 East Bell Road, Suite One
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             3    Phoenix, Arizona 85022-6200                                                              . . ,.
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       · 4        Facs1mjje: (602) 867-7833
                  Email: andrew@asinj urylaw .com                                MICHAEL IC. JEANES CLERK
             s    Email: trysta@asinjurylaw.com                                       _r. ,8ARRAZA.
                                                                                     D::P~'!!' CLERK
            6     Attorneys for Plaintiff Frank Celaya .
            7
                               IN THE SUPERIOR COURT OF THE STATE OF ARlZONA
            8
                                       IN AND FOR THE COUNTY OF MARICOPA
            9

        zo FRANK CELAYA, an individual,
        II
                                                                    Case No.
                                       Plaintiff,                              CV 201 7 _: 0 5 4 6 6 9
        12              v.
                                                                                   COMPLAINT
        13
                 GEORGE LEE LEY and JANE DOE LEY,
        14       husband ~d wife; WESTERN EXPRESS,                             (Tort- Motor Vehicle)
                 INC., a Tennessee corporation; ABC
        15       CORPORATIONS I-X; BLACK AND WHITE                             (Jury Trial Requested)
                 PARTNERSHIPS AND/OR SOLE
        16
                 PROPRIETORSHIPS l-X: JOHN and JANE
        17       DOES l-X; and· JACK AND TILL DOES 1-X,

        18                            Defendants.                                                                             ..
        19              Plaintiff Frank Celaya, by and tluough her undersigned counsel, as and for his

       20        Complaint against Defendants alleges as follows:
       21                                      JURISDICTION AND VENUE
      · 22          I. At all times material hereto, Frank Celay~ was a resident of the State of Arizona,
       23        County of Maricopa.

       24           2. At all times material hereto, Defendant Western Express, Inc. ("West.e m
       25        Express"), was a Tennessee company authorized to and doing business :under the laws of

       26        the State of Arizon!i that caused events to occur in Maricopa County~ Arizona, out of
       27        which these claims arise, such that this Court has jurisdiction over this Defendant.
       28           3. At all times material hereto, Defendant George Lee Ley·was a resiQent of El Paso


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                  County,_State of Texas, who acted in his individual capacity and on behalf of his marital
          2       cominunity, caused an automobile collision to occur in Maricopa County! State of
          3       Arizona, out of which these claims·arise, such that this Court has jurisdiction over him
          4       and Jane Doe Ley.                  ·

          5          4. Upon information and belief, Defendant Western Express was the owner of the

      6           vehicle Defendant Geoi;ge Ley was operating on February 23, 2017, that caused events to
                                                ..                                           .
      7           occur in Maricopa County, Arizona, out of which these claims arise, such that thi~ Court
      8           has jurisdiction over this Defendant.
      9              5. At all times material hereto, Defendant George Ley was the apparent, ostensible,
     "10      implied or express agent of; or was employed by, Defendant Western Express and was
     11       acting within the course and scope of said employment or agency when the acts
     12       complained of herein were corrunitted, such that the aforementioned Defendants are

     J3       vicariously liable for his misconduct pursuant to the doctfin€'. of respondeat superior.
     14              6. The Defendants sued herein as ABC Corporations I-X~ is/are the owner(s), agent(s),
     15       dba(s), servant(s), wholly owned subsidiary(ies), managing partner(s) and/or corporate
     16       parei:lt(s) of the entity that owned the vehicle Defendant George Ley was driving at the
     17       time of the.subject collision, and/or employ Defendant George Ley who was acting in the·
     18       scope of hi~ employment at the time ofrhe collision, as ~uch, is/are. liabl~ f~r the actions of
     19       said Defendant. All said fictitious Defendants are believed to be authorized to do business
              .                                                                                              .
     20       in the State of Arizona. Plaintiff will request leav.e of the Court to insert the true names of
     21       these unknown Defendants as their identities are learned in the course of discovery.

     22             7. The Defendants .sued herein as Black and White Partnerships                     an~/or    s ·o le
     23       Proprietorships. I-X, is/are the owner(s), agent(s), dba(s), servant(s), wholly owned
     24       subsidiary(ies), managing partner(s) and/or corporate. parent(s) that owned the vehicle

     2~       Defendant George Ley was driving at the time of the subject collision, and/or employ
              '
     26       Defendant George Ley who was acting in the scope of his employment at the time of the
     21       collision, as such, is/are liable for the actions of said Defendant.               All said fictitious
     28       Defendants are believed to be authorized to do business in the State of Arizona. Plaintiff
           will request leave of the Court to insert the true names of these unknown Defendants as
      2    their identities are learned in the course of discovery.
     3        8. The Defendants sued herein as John and Jane Does I-X, are agents or employees of
     4    Defendant Western Express who, while acting in the course and scope. of their
     s    agency/employment or in their individual capacities, participated in the acts and omissions
   6      out of which these c~aims arise, or caused or contributed to the damages alleged herein,
   7      such that this court has jurisdiction over these fictional Defendants. Plaintiff vyill request
   8      leave of the Court to insert the true names·of these unknown Defendants as their identities
   9      are learned in the course of discovery.
  10          9 .. The Defendants sued herein as Jack and Jill Does I-X, is/are the owner(s) or agent(s)
 11       of the owners that owned the vehicle Defendant George Ley was driying at the time of the
 12       subject collision, and/or employ Defendant George Ley who was acting in the scope of his
 13       ernployn_ient at the   ti~e   of the collision, as such, is/are liable for the actions of said
 14       Defendant". All said fictitious Defendants are believed to have participated in the acts and
· 15      omissions out of which these claims arise, or caused or contributed to the damages alleged
 16       herein, such that this court has jurisdiction over these fictional Defendants. Plaintiff will
 17       request leave of the Court to insert the true names of these unknown Defendant~ ~s th~ir
 18       identities are learned in the course of di~covery.
 19          IO.At all times mentioned herein, each Defendant mentioned herein may have been
 20       acting on concert, both as an agent and a principal, for an on behalf of all Defendants, thus
 21       making all Defendants jointly and severally liable for the dar:riages alleged hereU:.
22           11. Venue is proper in this Court.
23

24                                        GENERAL ALLEGATIONS
25           12.0n or-about February 23, 2017, at approximately, lO:OO·p.m., Plaintiff Prank
26        Celaya was driving a black Nissan Sentra, headed north on 51 st A venue towards
27        Roosevelt Street.
28           13. When Mr. Celaya's vehicle entered the intersection of 5pt Avenue and Roosevelt .
r.~
  •

                Street> Defendant George Ley, headed south on 51 sr Avenue in a white Freightliner truck
           2    (semi), failed to yield to Mr. Celaya's ·v ehicle while attempting to make a left-hand turn

           3    onto west Roosevelt Street, causing an impact betw~en the two vehicles.

           4       14. At the time of the collision the weather was clear and the asphalt road was dry.
           5       IS.Defendant George Ley owed a duty to Frank Celaya to drive his vehicle in a
           6    reasonable and prudent manner, ·to avoid collisions, and to protect others from

       1       unreasonable risks of   harm.
       8           16. Defendant George Ley breached ·his duties owed to Frank Celaya by failing to

       9       exercise reasonable ~are, driving inattentively, and failing to yield to Frank Celaya's
      10       vehicle and control the speed of his vehicle to avoid a collision.
      11           17. A.R.S. § 28-772 is an Arizona Statute enacted for the protection of a class of
      12       persons of which Frank Celaya is a member, which mandates the driver of a vehicle
      13       within an intersection intending to turn to the left shall yield the right-of-way to a vehicle

      14       that is approaching from the opposite direction and that is within the intersection or so
      15       close to the intersection as'to constitute an immediate hazard.
      16           18 . A .R.S. § 28-70 l(A) is an Arizona Statute enacted for the protection of a class of
      17       persons of which Frank Celaya is a member~ which prohibits a driver to drive a vehicle
      18       on a highway at a speed greater than is reasonabl~ and prudent under the circumstances,
      19       conditions, and actual and potential hazards then existing. ·

      20          19. A.R.S. § 28-70 l(A) mandates that a driver control the speed of a vehicle as
      21       necessary to avoid colliding with any object, person, vehicle or other conveyance on,
      22       entering or adjacent to the highway in compliance with legal requirements and the duty of

      23       all persons to exercise reasonable care for the protection of others.   )
      24          20.Defendant George Ley's failure to yield to Frank Celaya's vehicle, control his
      25       speed, and drive attentively to avoid,colliding with Frank Celaya's vehicle constitutes a .. -

      26       violation of A.R.S. § 28~70l(A)> thereby rendering Defendant George Ley negligent and
      27       negligent per se.
      28          21. But for Defendant George Ley's negligence and/or negligence per se, this
          collision would not have occurred and Frank Celaya would not have suffered the injuries
     2.   and damages alleged.in this Complaint.
     3       22.As a direct and proximate result of Defendant George Ley's negligence and/or
     4    negligence per se, Frank Celaya has incurred and   will incm in the futme physical and
     5    emotional harm, medical expenses, loss of wages, pain, suffering, inconvenience,
   6      aggravation, and other general and special damages in an amount to be proven at trial.
   7               WHEREFORE, Frank Celaya requests this Court enter ju~gment in his favor and
   8      against D~tendants as follows: .
   9                  I. For Pl~tiff s general and special damages in an amount to be .proven at

 10                    . trial; and,
 ]']                 2. For such other and further relief as this Court may deem just and proper.
 12

 13                RESPECTFULLY SUBMI'~TED this()..          L    day of September, 2017.
 14
                                                            ALEX & SAAVEDRA
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          Andrew R. Alex #003646
          Trysta M. PWltenney #029504
     2    ALEX & SAAVEDRA, P.C.                                                                              ~-...~~


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          Phoenix, Arizona 85022-6200
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          Telephone: (602) 971-1775                                                                      .·· ..   ;~
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     4    Facsimile: (602) 807-7833                                              SEP 2 8 2017                     "
          Email: andrew@asinjurylaw.com
     5

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     7
          Email: trysta@asinjurylaw.com
          Attorneys for PlaintiffFnink Celaya                            ®      MICHAEL IC, JEANES, CLERK
                                                                                      V,fJARRAZA
                                                                                     O~PIJ T't' CLEFfK


                          IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
     8
                               IN AND FOR THE COUNTY OF MARICOPA
     9

to FRANK CELAYA, an individual,
                                                              Case No.
11
                               Plaintiff,                                CV 201 7 - 0 5 4 6 6 9
12               v.
                                                               CERTIFICATE OF COMPULSORY
13        GEORGE LEE LEY and JANE DOE LEY,                     ARBITRATION
14
          husband and ·w ife; WESTERN EXPRESS,
          INC., a Tennessee corporation; ABC
15        CORPORATIONS 1-X; BLACK AND WHITE
          P ARTNERSHlPS AND/OR SOLE
16
          PROPRIETORSHIPS I-X, JOHN and JANE
11        DOES I~X; and JACK AND JILL DOES I-X,

18                             Defendants.
19               The undersigned certifies that the large.s t award sought by the Plaintiff, including

20        pWlitive damages, but excluding interest, attorney's fees, and costs does exceed the limits
21        set by local rule for compulsory arbitration. This case is not su bject to the Arizona Ru.les

22        of Civil Procedure regarding Arbitration.
23               RESPECTFULLY SUBMITTED thi~E. day of September, 2017.
24
                                                             ALEX & SAAVEDRA
25

26

27

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   Integrity Attorney Services                                                               OCT @3· 2017
   P.O. Box 33123
   Phoenix, Arizona 85067-3123                                                              MICHAEL K. JEANES CLERK
 f[A.s#:                                     64578
                                                                                                     J. LEWIS '
 ~tty#: Celaya/Ley                                                                                DEPUTY ClEFlK

                     IN THE SUPERIOR COURT OF THE STATE OF
                  ARIZONA IN AND FOR THE COUNTY OF MARICOPA

  FRANK CELAYA,
       Plaintiff(s),                                                  Case No. CV2017-054669

  vs.
                                                                             AFFIDAVIT OF
 ,_:.GEORGE LEE LEY, et al,                                               SERVICE OF PROCESS
          Defendant(s).



JOSEPH BEACOM, being duly sworn, states: That I am qualified to serve process in this cause, having been
so appointed by the court in Maricopa County, Arizona. I received the follo~ing documents in this action:

SUMMONS; COMPLAINT; CERTIFICATE OF COMPULSORY ARBITRATION

From ALEX & SAAVEDRA, P.C, Trysta M. Puntenney, SBN 029504 on 9/28/2017, and in each instance I,
personally, served a copy of each document listed above on those named below at the time and place shown,
that all services, except where noted, were made within Maricopa County, Arizona.

Upon WESTERN EXPRESS, INC, by service upon its Statutory Agent, NATIONAL REGIST ED
AGENTS, INC, at 3800 N. Central Ave, Ste. 460, Phoenix, Arizona 85012, on 9/29/2017      :10 PM, by
leaving one set of the above listed documents with Scott Whaley, Clerk, who stated · authorized to accept.




                                                        //
SUBSCRIBED AND SWORN to me this 29th day of/11ber, 2017.

Notary Public: --~Z~~
  !l'!\NDER: COMPLETE THIS                            SECT/~

  • Complete items 1, 2, and 3.
  • Print your name and address on the reverse                                                                                                         - -       ~c;::I   Agent
     so that we can return the card to you.                                                                                                                        DAddressee
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  • Attach this card to the back of the mailpiece,
     or on the front if space permits.
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  PS Form         3811, July 2015 PSN 7530-02-000-9053                                                                                           Domestic Return            Receipt'.~f
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           Suite 1
           Phoenix, AZ 85022
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                                                                          7016 3010 DODO 8811 6516



                                                                             George Ley
                                                                             Jane Doe Ley
                                                                             11592 S. Spencer Dr.
                                                                             El Paso, TX 79936
